         Case 8:17-cv-01596-PJM Document 102 Filed 03/28/18 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


THE DISTRICT OF COLUMBIA                      *
and THE STATE OF MARYLAND,                    *
                                              *
               Plaintiffs,                    *
                                              *
v.                                            *              Civil No. PJM 17-1596
                                              *
DONALD J. TRUMP,                              *
individually and in his official capacity     *
as President of the United States,            *
                                              *
               Defendant.                     *

                                             ORDER

       Having considered Defendant’s Motion to Dismiss (ECF No. 21) and Plaintiffs’

Opposition thereto, following oral argument, it is, for the reasons stated in the accompanying

Opinion, this 28th day of March, 2018,

       ORDERED:

               1. Defendant’s Motion to Dismiss (ECF No. 21) is DENIED-IN-PART insofar

                   as it disputes Plaintiffs’ standing to challenge the involvement of the President

                   with respect to the Trump International Hotel and all its appurtenances in

                   Washington, D.C. and any and all operations of the Trump Organization with

                   respect to the same;

               2. Defendant’s Motion to Dismiss (ECF No. 21) is GRANTED-IN-PART

                   WITHOUT PREJUDICE as to the operations of the Trump Organization

                   and the President’s involvement in the same outside the District of Columbia;

               3. The Court’s ruling on Defendant’s Motion to Dismiss is DEFERRED-IN-

                   PART in that the Court has yet to rule on Defendant’s remaining arguments
Case 8:17-cv-01596-PJM Document 102 Filed 03/28/18 Page 2 of 2



       regarding the meaning of the Emoluments Clauses of the U.S. Constitution

       and whether Plaintiffs have otherwise stated claims under the Emoluments

       Clauses;

    4. A further hearing to consider the remaining arguments in Defendant’s Motion

       to Dismiss will be set in consultation with counsel.



                                                    /s/
                                               PETER J. MESSITTE
                                         UNITED STATES DISTRICT JUDGE




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